         FIRST DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                        No. 1D2023-2334
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TIMOTHY CUDD,

    Appellant,

    v.

DANIELLE ARANA,

    Appellee.
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On appeal from the Circuit Court for Alachua County.
Sean Brewer, Judge.


                        August 27, 2024

PER CURIAM.

    AFFIRMED.

LEWIS, ROWE, and M.K. THOMAS, JJ., concur.

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    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
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Timothy Cudd, pro se, Appellant.

Danielle Arana, pro se, Appellee.

Adriane M. Isenberg, the Law Office of Adriane M. Isenberg, PA,
Gainesville, for Appellee.




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